CaSe:5:17-`CV-01687-Sl\/|H-l\/|LH Document 1-2 EE§Q|QMB?F|L|E§Q€ 1 of 6 Page|D #: 8

James W. Martin, C|erk of Court 44533
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Friday. November l`!. 2017 2:44 PM
LORETTA MONK-WH|TE and TlMOTHY § NUMBER: - 5
MONK, each individually and on behalf of
the Estate of their father, JESS\E
MONK. deceased
VERSUS § SECOND JUD|ClAL DlSTRlCT COURT
ARCAD|A NURS|NG AND
REHAB|LlTAT|ON CENTER, L.L.C.l
D/B/A W|LLOW R|DGE NURS|NG AND
REHABIL|TATlON CENTER, L.L.C.. .
DTD HC, L.L.C., AND D&Nl L.L.C. § B|ENVlLLE PAR|SH. LOUlS|ANA
PERMANENT ASS|GNMENT § SECT|ON:

PETIT|ON FOR BREACH OF CONTRACT.
WBOE§FUL DEATH AND SUR!IVAL DAMA§E§

NOW lNTO COURT, comes and appears. through undersigned counsel, LORE`l`|'A
lVlONK-WHITE and TIMOTHY MONK. each individually and on behalf of the Estate of their
father, JESSlE MONK, being of the age of majority and residents of Louisiana, who
respectfully represent:

1. Made defendants in this action are:

Arcadia Nursing and Rehabi|itation Center, L.L.C., dlbla Wil|ow Ridge

Nursing and Rehabi|itation Center, L.L.C., a skilled nursing facility

doing business at 660 Factory Outlet Ma|l Drive, Arcadia, Louisiana,

who may be served th rough its registered agent for service of process,

UCS of Louisiana, |nc., 3867 Plaza Tower Drive, 1" Floor, Baton Rouge,

Louisiana 70816

DTD HC, L.L.C., a foreign corporation who owns, operates and

manages Arcadia Nursing and Rehabi|itation Center, L.L.C., doing

business at 3690 Southwestern Boulevard, Orchard Park, New York,

14217, who may be served through Louisiana Long Arm Statute;

' D&N, L.L.C., a foreign corporation who owns, operates and manages

Arcadia Nursing and Rehabilitation Center, L.L.C., doing business at

3690 Southwestern Boulevard, Orchard Park, New York, 14217, who

may be served through Louisiana Long Arm Statute;

2. Plaintlffs are: Loretta N|onk-White and Timothy Monk, children of Jessie
l\/|onk, and Loretta Monk-White is the Tutrix of the Estate of Jessie i\/lonk, and brings this
action, |ndividualiy and on behalf of |\/|r. l\/lonk's Estate.

3. A|l plaintiffs are of the age of majority and live ln

4. This is a claim for breach of contract, violation of rlghts, negligence and

damages sought for wrongful death, survival and pecuniary and non-pecuniary damages.

5. l\/lr. Jessie Monkwas a resident ofArcadia Nursing and Rehabi|itation Center,

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Case 5:17-'cv-01€_587-Sl\/|H-l\/|LH Document 1-2 Filed 12/28/17 Page 2 of 6 PagelD #: 9

L.L.C.. d/b/a Willow Ridge Nursing & Rehabilitation Center, L.L.C. (hereinafter "Wiiiow
Ridge") located at 660 Factory Outlet Mall Drive, Arcadia, Louisianafrom May 25 2017 until
August 4, 2017.

6. Jurisdiction is proper, as defendants are not entitled to medical review panel,
as the claims presented herein are not related to medical treatment, but are based upon
negligence, breach of contract and breach of duty for custodial care.

7. The evidence will show that on craboutAugust4,2017, Mr. l\/|onkfell outside
the nursing home facility when he was allowed to roll his wheelchair outside the facility into
the parking lot without any assistance nor supervision from the staff resulting in his falling
out of the wheelchair.

8. As a result of the fal|, he suffered a fracture of his CZ-C3 vertebra and his left
femur.

9. Defendants had agreed to provide care and services in accord with all
regulations, licensure standards in exchange for payment of approximately $6,000 per
month which include general and custodial care of supervision and assistance

10. Defendants, Wi|low Ridge, DTD HC, L.L.C., and D&N, together breached
their duty and breached their contract in which they promised to plaintiff, l_oretta l\/lonk, to
provide proper care in accord with all laws and regulations governing payment and to
provide “peace of mind" to Loretta l\/lonk. ln fact, defendants had advertised, promoted
and promised their nursing home had sufficient numbers of staff to keep a close eye and
to provide supervision and assistance in compliance with all regulations in return for
payments under their contract and admission agreement

11. Further, it should be noted that Mr. l\/lonk was not being provided medical
care at the time. of this August 4, 2017 and was not being loaded into the van at the time
of the fal|, but was allowed to exit the facility without any assistance or supervision by the
staff into the parking lot area to wait on the dialysis van.

12. The nursing home breached its dutyto keep the patient safe and under close
supervision, lnstead, he was allowed to exit into the August heat in a parking lot
unattended to wait when he fell out of the wheelchair and suffered these injuries.

13. The nursing horne failed to take reasonable precautions to prevent this fall;

Pagc -2-

Case 5:17-c`V-Ol687-Sl\/|H-l\/|LH Document 1-2 Filed 12/28/17 Page 3 of 6 PagelD #: 10

failed to secure him in the wheelchair; failed to ensure he was supervised and assisted,
and as a direct resu|t, l\/lr. Nlonk suffered permanent disabling injuries from which he was
unable to recover.

14. At no time did the nursing home staff, agents or employees advise the fami|y,
nor their patient, Mr. l\/lonk, that they were unable to provide the level of care he required
to keep him safe.

15. The evidence shows that Mr. l\/lonl< suffered repeated falls and injuries due
to negligence and breach of duty, breach of contract of defendants, and that as a
proximate and direct result, he suffered a, intertrochanteric fracture which led to and
significantly contributed to continued pain, suffering, decreased chance of survival,
decreased quality of life and eventual death on September 15, 2017.

16. lt is alleged that as a direct and proximate result of defendants’ negligence
and breaches, Mr. Jessie Monk died, and as a result of the wrongful death of.lessie Monk,
plaintiffs herein, Loretta l\/lonk and Timothy l\/lonk, have suffered loss of love and affection,
loss of services, loss of support and monetary damagesl

17. Additionally, plaintiffs herein are entitled to recover damages, survival
damages suffered by l\/lr. l\/lonk from the continued abuse, neglect, breach of duty and
damages he suffered at the hands ofdefendant up until his death on September15, 2017.
including damages for physical pain and suffering, emotional pain and suffering, abuse,
pre-death fear, disability, disfigurement, medical expenses, lost chance of surviva|, lack of
being treated with dignity, respect, and individuality; decreased quality of life; emotional
distress; pain and suffering, untimely and painful death.

18. lt will be shown that as a result of the breach of contract by defendants,
plaintiffs herein suffered both pecuniary and non-pecuniary damages along with all costs
for which his Estate is entitled to recover together with ali costs of these proceedings

WHEREFORE, PLAlNT|FFS PRAY `l`HAT:

Defendants, ARCAD|A NURS|NG AND REHABlLlTAT|ON CENTER, L.L.C., D/B/A
VV|Li_OW R|DGE NURS|NG AND REHAB|L|TAT|ON CENTER, L.L.C., DTD HC, L.L.C.,
AND D&N, L.L.C., each be served with a copy of this Original Petition and be cited to

appear and answer same;

Page -3-

Case 5:17-cV-01687-Sl\/lH-l\/lLH Document 1-2 Filed 12/28/17 Page 4 of 6 PagelD #: 11

FURTHER PRAYS that after all legal delays and due proceedings had that there be
judgment herein in favor of your petitioners for all damages of wrongful death, surviva|,
breach of contract, breach of fiduciary duty and negligence, including all damages for
physical pain and suffering, mental/emotional pain and suffering; loss oflove and affection;
loss of quality of life, decrease in life expectancy, medical bills and funeral expenses, loss
of support; mental anguish; breach of contract damages including pecuniary and non-
pecuniary losses, disability, disfigurement; loss of love, affection, support, lost chance of
survival, decreased quality of |ife, violation of rights , and all other damages allowable
underlaw againstthedefendants,ARCADlA NURS|NGAND REHAB|L|TAT|ON CENTER,
L.L.C., D/B/A WlLLOW RIDGE NURS|NG AND REHAB|L|TATlON CENTER, L.L.C.l DTD
HC, L.L.C., AND D&N, L.L.C., for amounts as may be reasonable in the premises, with
legal interest thereon, from date of judicial demand until paid together with all costs of
these proceedings to include the costs for all expert witnesses of any description, including
but not limited to medical experts together with all judicial interest from the date of filing;

FURTHER PRAYS for judgment against the defendant for deprivation of`
infringement of the rights of Nlr. Jessie l\/lonk as enumerated in the Louisiana Residents'
Bill of Rights of which defendant contracted at all times to protect and providel including
her right to be informed of his medical condition; to have received adequate and
appropriate health care and protection; to be free from accidental hazards; to receive a
prompt response to all reasonable requests and inquiries; to have significant changes in
his health status reported to him and his family, together with costs for the breach of
contract including both pecuniary and non-pecuniary damages.

FURTl-lER PRAYS for all other relief as may be necessary in the premises,

Page -4-

Case 5:17-cv-Ol667-Sl\/lH-l\/lLH Document 1-2 Filed 12/28/17 Page 5 of 6 PagelD #: 12

Respectfully submitted ,

LAW OFFlCES OF GlA KOSMlTlS
A Professional Law Ccr o ticn
Attorneys f r laintiff

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Harry S. Johnson
Bar Roll No. 35184
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Shreveport, Louisiana 71104
(318) 865-9800
(318) 865-0809 (facsimile)

Please Serve:

Arcadia Nursing and Rehabilitatlon Center, L.L.C.,

d/bla Willow Ridge Nursing and Rehabi|itatlon Center, L.L.C.
through its registered agent for service of process,

UCS of Louisiana, lnc.

3867 Plaza Tower Drive, 1" Floor

Baton Rouge, Louisiana 70816

DTD HC, L.L.C.

Via Louisiana Long Arm Statute at
3690 Southwestern Boulevard
Orchard Park, New York, 14217

D&N, L.L.C.

Via Louisiana Long Arm Statute at
3690 Southwestern Boulevard
Orchard Park, New York, 14217

Page -5-

LORE`l`l'A l\/lONK-Wl-llTE and Tll\/lOTHY §
MONK, each individually and on behalf of.
the Estate of their father, JESSIE

l\/lONK, deceased

vERsus §

ARCAD|A NURS|NG AND
REHAB|L|TAT|ON CENTER, L.L.C..

D/B/A W|LLOW RlDGE NURS|NG AND
REHAB|L|TAT|ON CENTER, L.L.C.,

DTD HC, L.L.C., AND D&Nl L.L.C. §

PERMANENT ASSlGNl\/|ENT §

Case 5:~17-cV-0168_7_-Sl\/lH-l\/lLH Document 1-2 Filed 12/28/17 Page 6 of 6 PagelD #: 13

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SECOND JUDlClAL DlSTR|CT COURT

BlENV|LLE PAR|SH, LOUlS|ANA

SECT|ON:

REQUEST FOR TEN DAYS NOT|CE

OF SE`|T[ G AND N

EOFJU G ENT

Plaintiffs, LORE'l`l'A MONK-WHlT[-'. and TlMOTl-iY MONK, each individually and

on behalf of the Estate their father, JESS|E MONK, Deceased, petitioners in the above

styled and numbered cause, request that they be given a minimum often (lO) days written

notice in advance, through their counsel ofrecord, Georgia P. Kosmitis, 3316 Line Avenue,

Shreveportl Louisiana 7||04, in accordance with the provisions of Article 1572. l9|3 and l9l4

of the Louisiana Code cf Civil Prccedure, of the date that this cause is to be erd for trial',

settings or argument, motions or hearings and notice of judgment or partial judgment

Respectfully submitted,

FlLED

Jamss W. Marlin
Clerk of Court

NOV'17 20l7

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BDL| B `

Please serve with petition

LAW OFF|CES OF GlA KOSI\/ilTlS
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Pagc -6-

